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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


ZOALEE AND CALVIN HAYES                                                CIVIL ACTION

VERSUS
                                                                       NO. 17-1167-JWD-RLB
AMERICAN STRATEGIC
INSURANCE CORPORATION

                         consolidated for discovery purposes only with

CENCERIA DALCOURT                                                      CIVIL ACTION

VERSUS
                                                                       NO. 17-1191-JWD-RLB
AMERICAN STRATEGIC
INSURANCE CORPORATION
                                                                       This Order Applies Only to
                                                                       CV 17-1191-JWD-RLB

                                              ORDER

       A telephone conference was held on September 21, 2018.

       PRESENT:        Cenceria Dalcourt
                       Pro Se

                       William R. DeJean
                       Counsel for Defendant

       The parties discussed the status of this matter. Plaintiff confirmed that she intends to

move forward with her case without counsel. She was advised that any communications with

American Strategic Insurance Corporation must be through their attorneys.

       Counsel for Defendant expressed concern that the discovery information he has received

so far is not sufficient. Plaintiff advised that she had a file of receipts and other information

regarding damages that were relevant to her claims. The Court ordered Plaintiff to provide that

information no later than September 28, 2018.



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       The parties also exchanged contact information and Plaintiff intends to provide consent to

the receive court notifications via email. Upon exchange of the above referenced information,

the parties expressed a willingness to discuss possible settlement of this matter. The Court

advised that parties that if there were any remaining issues concerning the sufficiency of

information exchanged or if any additional Court involvement is necessary, the undersigned

should be contacted as soon as possible.

       Signed in Baton Rouge, Louisiana, on September 21, 2018.



                                             S
                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE




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